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IN THE UNITED sTATEs nlsTRICT CoURT FoR THE wEsTERN
DISTRICT 0F TENNESSEE, WESTERN I)IVISION AT MEMP@Hs‘-.r; y 1 3 PM !l!_ m

 

MICHAEL LUSTER,

 

Plaintiff,
vs. CIVlL ACTON N(). 03-2244 MA/AN
ML TENNESSEE APARTMENTS, LP, and
EQUITY RESIDENTIAL PROPERTIES
MANAGEMENT CORPORATION,

Defendants.

 

.IOINT PRE-TR]AL ORDER

 

Come now the parties, and submit this Joint Pre-Trial Order:
I. JURISDICTIONAL QUESTI()NS

None.
ll. PENI)ING MOTIONS

Defendants’ Motion for Summary Judgment, filed on Deeemher l7, 2004, is still
pending, ln addition, the following motions in limine are pending: (l) Motion in Limine
regarding testimony of pre-accident conversation among defendant employer and employee; (2)
l\/lotion in limine regarding plaintiffs expert, Tom Ebro, (3) Motion In limine regarding
testimony of plaintiffs expert Randall MCDaniel, as Well as the plaintiffs motion to Strike expert
testimony offered in support of the defendant's motion for summary _iudgment.
III. SUMMARY OF THE CASE

This is a premises liability case in which liability is disputedl ()n Sunday, April 28, 2002,

Plaintiff Miehael Luster (hereinafter referred to as "‘Plaintiff" or “Plaintiff lauster”) Was injured

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after diving into a pool at 'l`he Memphis Landings Apartments. Plaintiff Luster hit his head and
injured his neck, resulting in complete paralysis from the Waist down with limited movement of
his arms and hands. At the time of the ineident, he was a guest of Courtney Bowen’s, an
apartment resident of 'l`he Memphis Landings Apartments. At the time of this accident, thc
apartments were owned by ML Tennessee Apartments, LP and managed by Equity Residential
Property l\/Ianagement Corporation. Plaintiff Luster and l\/lonkell Bowen, brother of Courtney
Bowen, had been together drinking beer. 'l`ogether, Plaintiff Luster and l\/Ionkell Bowen traveled
to Courtney Bowen’s apartment for a cookout Courtney Bowen was having. After eating_,
watching TV, and relaxingj Plaintiff Luster, Monl<ell Bowen, Courtney Bowen, and a female
friend ofCourtney’s, decided to go swimming at the apartment complex pool.

The pool was open at that time from l():OO a.m. to 10:00 p.m. Plaintiff Luster and the
others left Courtney’s apartment and arrived at the pool before 10:00 p.m.. Upon their arrival at
the pool area, at least one of the underwater lights to the pool were out. They entered the pool
area through the north gate. The pool has a “B” shape, with two basins. Plaintiff Luster got
into the pool at the north end and swarn back and forth a couple of times. He found this end to
be shallow, exited the pool and dried his face. Plaintiff Luster then observed Courtney Bowen
dive into the south end of the pool. Plaintiff Luster, then, immediately dove in after Courtney
Bowen. Although Courtney Bowen’s dive was successful, Plaintiff Luster’s was not. His head
struck the bottom of the pool and rendered him a paraplegic.

Plaintiff Michael Luster is single man, thirty-four years of age, and is the father of
DeAndra Luster, a ten year old. He had been employed at Bryce Corporation as a press helper.
However, he had been laid off from this employer several months prior to the accident and, thusq

was unemployed at the time of the accident.

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IV. C()NTENTIONS OF THE PARTIES

A. Plaintiff's Contentions

lt is Plaintiff"s position that this accident was caused by the negligence of the Defendants
Plaintiff Luster did not have the appropriate information available to him to make an informed
decision as to whether to dive into the pool on the south end or not. Plaintiff contends that the
deck depth markers lacked contrast to the deck; the pool markers inside the pool were misleading
due to the water level; the one sign present at the time lacked visibility in that it was not
illuminated or placed in a conspicuous place; and there was no pool lighting at all, - a fact known
to the Defendants prior to the accident.

At the time of this accident, the pool area, both above ground and underwater, was not
appropriately lit both by Tennessee standards and pool industry standards Tennessee standards
state at a minimum, that there shall be five foot candles per square foot at the deck level. ’l`he
pool industry standards are a minimum of 20 foot candles of illumination Plaintit`f's expert,
'l`om Ebro, recreated the illumination that was in place at the time of the accident and measured it
at .124. - which is l/l 0 of one foot candle, clearly below standards set by Tennessee and the pool
industry. With respect to underwater illumination, Tennessee`s standards state `“not less than 0.5
watts shall be provided per square foot of pool surface area.” The pool industry standards are 60
lumens per square foot of water surface area. There were no underwater lights working at the
lime of the accident_, the Defendants were aware of it, and made a conscious decision to not
provide lighting

ln addition to inadequate illumination, the depth markers were also inadequate
Tennessee standards require depth markers to be spaced at intervals no greater than twenty (20)

feet with numerals of at least four (4) inches in height and of a color contrasting with the

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background. Further, Tennessee standards require that the depth of the water shall be plainly
marked in feet “at or above the water surface on the vertical pool wall”. The Landings
Apartments pool area on April 28_. 2002 was not in compliance at the time of the accident of
either rule.

Lastly, there was one unlit sign at the south far end of the pool, away from the north entry
gate, which is the gate Plaintiff Luster entered from. Not only was the sign not illuminated for
Plaintiff to see it but the sign itself was an inadequate warning in accordance with Tennessee and
pool industry regulations The more appropriate sign is one which includes actual "‘warning”,
“caution”, or "danger” language, the prohibition against diving, the explanation for the
prohibition (shallow water), the consequences (death or paralysis) and a pictogram. Each of these
violations and circumstances made it impossible for Plaintiff Luster to make an informed
decision about the depth of the pool and whether he should dive into it or not.

Although Plaintiff Luster had been drinking on that fateful Sunday evening, he followed
the lead of Courtney Bowen, who had not been drinking and dove into the unlit. and
inadequately marked pool.

Plaintiff Michael Luster has filed a complaint against Defendants and is entitled to
compensatory damages, including damages for medical expenses, past and future, great mental
anguish, mental pain and suffering, physical pain and suffering, loss of earning capacity and loss
of ability to enjoy a normal life. Plaintiffs’ expert witness, an economist, has opined that the
economic loss suffered by Plaintiff Luster is 56,191,878.00. Plaintiff s medical expenses, to

date, are excess of $550,000.00. The total amount of damages Plaintiff contends he is entitled to

is $30,000,000.00.

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B. Defendant’s Contentions

lt is the contention of these defendants that l\/lr. Luster's diving accident of April 28,
2002, although admittedly unfortunate, occurred without any fault or neglect on the part of these
defendants The pool at The Landings Apartment community was well maintained_, properly
serviced and satisfied the governing State of Tennessee Operating Regulations. ln addition, this
pool was regularly inspected and approved for use by the Shelby County Health Department.

Proper and appropriate depth markers were located at intervals around the perimeter of
the pool as well as additional depth markers on the tile walls of the pool itself. Thus, the pool
was clearly marked to show that its depth ranged from only 3' to a maximum of4' in depth.

l~`urther, even without such markings, it was, or should have been readily observable to
any person exercising reasonable care and judgment for his own safety, that the pool was shallow
in depth. In that regard_ there were a series of "wedding cake" style steps at various spots within
the pool so as to allow patrons to wade into the water. These steps were a clear indicator that the
pool was shallow. lndeed, one such set of these "wedding cake" steps was located in the south
end of the pool_, the area of the pool into which l\/Ir, Luster made his ill-advised dive.

ln addition to depth markers as above described, a set of rules and regulations for use of
the pool was prominently displayed in the pool area. lmportantly, it is the contention of this
defendant that two separate signs were also posted in the pool area, one ol` which read "NO
LIFEGUARD ON DUTY", with another separate sign informing users of the pool that there
Shall be "NO DlVING".

Although the plaintiff contends that lighting within the pool area was inadequate, it is the
contention of these defendants that although the lighting was adequate, in fact, the lighting

conditions have no relevancy to the occurrence of this incident Rather, it is the contention of

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these defendants that this diving accident, together with all claimed injuries, damages and losses
now claimed by Mr. Luster, were directly, proximately and legally caused by l\/lr. Luster's own
negligence fn that regard, it is the contention of this defendant that l\/Ir. Luster, at the time of the
incident, was a mature adult, 31 years of age. l\/lr. Luster had been swimming since his youth,
having completed two swimming courses as a child. Fur'ther, Mr. Luster used and enjoyed his
family's inground pool, with Mr, Luster considering himself at the time of the accident a good
and competent swimmer. lt is undisputed that Mr. Luster was aware that no lifeguard was on
duty at the time of this incident, with it further being the contention of these defendants that l\/Ir.
Luster made no efforts to protect his own safety by looking to determine the depth of the pool
before making his dive nor, for that matter, did he even look at the depth markers prior to
attempting this dive.

'l`here is also a factual dispute as to whether Mr. Luster was present at the pool during
daylight hours which, of course, would further obviate lighting as an issue in this lawsuit. That
is, although the plaintiff now claims that the incident occurred after nightfal], in his Complaint
filed in this cause, as well as in his sworn deposition testimony, the plaintiff alleges that he
arrived at the pool area sometime between 7-7:30 p.m. On April 28, 2002 sunset was not until
7:44 p.m., with civil twilight extending until 8:ll p.m. Thus, per l\/Ir. Luster's testimony, his
presence at that time of the evening would have allowed him ample opportunity to observe the
shallow depth of the pool. Alternatively, if the pool and surrounding deck was dark, as
claimed by the plaintiff, then, in that event, Mr. Luster was guilty of negligence in diving head
first into a darkened area, without first ascertaining the depth of the pool.

ln any event, it is further without dispute that Mr. Luster_, by his own admission, was in

the poo], either wading or swimming prior to attempting his dive. lt is the contention of these

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defendants that Mr. Luster would therefore have actual knowledge ofthe pool's shallow depth
from his very use of the pool.

Further, it is without question that Mr. Luster was exceedingly intoxicated at the time of
this accident. Upon his admission to the Regional Medical Center at l\/lemphis (The l\/led)
following this accident, Mr. Luster's blood alcohol level was measured at .20, nearly three times
the legal level of intoxication for operating a motor vehicle in the State of Tennessee. According
to a witness’ account, l\/lr. Luster had the odor of beer on his breath at the time he was pulled
from the pool. lt is therefore the contention of these defendants that Mr. Luster's judgment was
obviously impaired as a result of this high level of intoxication Thus, it is further the contention
of these defendants that the actions of l\/lr. Luster, including his own voluntary intoxication. were
the direct, proximate and legal cause of the accident and the injuries, damages and losses now
claimed by him. Accordingly, it is the contention of these defendants that the doctrine of
modified comparative fault in Tennessee bars any recovery by the plaintiff or, alternatively_, that
such negligent conduct on the part of Mr. Luster serves to reduce, diminish or mitigate damages
otherwise recoverable in this matter. Furthermore, these defendants dispute the nature, extent
and amount of damages, losses and expenses now claimed by this plaintiff

ln summary, it is the contention of these defendants that they deny that they were guilty
of any acts of negligence which directly, proximately or legally caused the accident and the now
claimed injuries, losses or damages Further, it is the contention of these defendants that the
accident, and the claimed damages, were directly, proximately and legally caused by the

negligent acts and omissions on the part of the plaintiff, Michael Luster.

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SPECIFIC FACTS STIPULATED TO BY THE PARTIES

'l`he l\/[emphis Landings Apartments were owned by ML Tennessee Apartments,
LP on April 28, 2002.

The Memphis Landings Apartments were managed by Equity Residential
Property l\/lanagement Corporation on April 28, 2002.

On April 28, 2002, Courtney Bowen was a resident at the Memphis Landings
Apartments on Winchester Road, l\/lemphis, Tennessee.

On or about April 28, 2002, Plaintiff Michael Luster was a guest, along with
l\/lonkell Bowen, and another friend, DeShon Hampton, at the apartment of
Courtney Bowen.

Prior to arrival at Courtney Bowen’s apartment, Plaintiff Luster and l\/lonkell
Bowen were at l\/lonkell Bowen’s residence drinking beer and playing video
games.

Upon arrival at Courtney Bowen’s apartment, Plaintiff Luster, l\/lonkell Bowen,
and Courtney Bowen cooked out and watched television.

After eating watching TV, and relaxing Plaintiff Luster, Monkell Bowen`_ and
Courtney Bowen, decided to go swimming at the apartment complex pool.

The pool was open at that time from 10:00 a.m. to 10:00 p.m.

Upon their arrival to the pool area, at least one of the underwater lights to the pool
was out.

Plaintiff Luster and the others entered the pool area through the north gate.

The pool had a “B” shape, with two basins.

After arriving at the swimming pool, Plaintiff Luster placed his towel in a chair,

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entered the swimming pool at the north end, and swam back and forth a couple of
times.

Plaintiff Luster found the north end to be shallow, exited the pool and dried his
face.

Plaintiff Luster then observed Courtney Bowen dive into the south end of the
pooL

Plaintiff Luster, then, immediately dove in after Courtney Bowen_

Courtney Bowen made a successful dive.

Plaintifflsuster struck his head on the bottom of the pool.

On April 28, 2002, sunset was at 7:44 p.m. and civil twilight ended at 8:l l p.m.
'I`he paramedics arrived at the pool at 9:23 p.m.

Depth markings were located on the pool decking and vertical walls of the pool
indicating the depth of the pool at multiple locations along the swimming pool
perimeter.

Luster knew there was no lifeguard on duty at the time of the accident.

At the time of the accident on April 28, 2002, there was a sign posted at the pool
which read “No Diving” with a separate sign posted which read “No Lifeguard on

l)uty. ”

CONTESTED ISSUES

A.

l.

Contested Issues of Fact

Whether Plaintiff Luster dove into the swimming pool as a result of previously

drinking alcoholic beverages or as a result of an inability to see depth markers and

signage as a result of Defendants’ action or inaction.

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2. Whether the depth markers were visible or adequate at the time of the accident.
3. Whether the signage was visible or adequate at the time of the accident.
4. Whether the depth of the pool could be appreciated at the time of the accident by

Plaintiff Luster.

5. To what extent, if any, was Plaintiff Luster’s judgment impaired as a result of
drinking
6. To what extent, if any, was Plaintiff Luster’s judgment impaired as a result of the

lights not being functional at the pool, the depth markers, and si gnage.

7. Whether there is any negligence on Plaintiff Luster’s part as to the cause of this
accident.

8. Whether there is any negligence on Defendants’ part as to the cause of this
accident.

9. Whether the accident happened in daylight or night time hours?

lO. Whether l\/Ir. Luster was at the pool during daylight hours?

ll. Whether l\/lr. Luster was aware_, or should have been aware by the exercise of
reasonable care, as to the depth of the pool‘?

l2. Whether l\/lr. Luster looked at or saw the depth markers, rules and regulations
sign, and/or the "No Diving" sign prior to attempting his dive?

13. What, if any, steps were taken by l\/Ir. Luster to assure his own safety before
attempting the dive‘?

14. Did l\/lr. Luster attempt a dive into a dark, unlit pool without first attempting to
judge the depth of the water?

15. Were one or more of the deck lights surrounding the pool area not functioning at

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the time of the subject accident?

16. ls the basin on the south end of the pool larger than the north end basin‘?

l7. How much alcohol did l\/lr. Luster consume on the date of the accident prior to
attempting his dive?

18. How much alcohol did l\/lonkell Bowen consume on the date of the accident prior
to l\/lr. Luster attempting his dive?

19. How much, if any, alcohol was consumed by Courtney Bowen on the date of the
accident prior to l\/lr. Luster attempting his dive?

20. Was it dark or light at the time Mr. Luster arrived at the subject pool‘?

2]. Was Courtney Bowen and/or l\/Ionkell Bowen aware of the shallow depth of the
pool prior to Mr. Luster attempting his dive into the shallow water?

22. How long had the plaintiff been in the pool, or the deck and/or spa area
surrounding the pool, prior to plaintiff attempting his dive into the shallow pool‘?

23. How long did it take the paramedics, or other first responders._ to arrive at the
scene of the accident‘?

24. Had the subject swimming pool been altered after May 27, 2000 but before the
accident of April 28, 2002'?

25. The nature, extent and amount of the damages, losses and expenses now claimed
by the plaintiff are contested and, accordingly, in dispute?

26. Whether l\/lr. Luster would have become a press operator is in dispute.

27. The amount of earnings claimed by the plaintiff as of the date of the accident,
together with projected future income losses are likewise in dispute.

28. Whether the lighting was adequate at the time of the accident.

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Vll.

B. Contested lssues of Law

l. Whether the Design Standards for Public Swimming Pools as set forth in § 1200-
23-5-.03 of the Rules of the Tennessee Department ofl~lealth, Bureau of Health Services
Administration, Division of General Environmental Health are applicable to this subject
pool as pertains to the accident of April 28, 2002. (The plaintiff disputes that a contested
issue of law exists in that the defendants admitted the applicability of these Regulalions
in their Answer. See il 52-54 thereof).

2. Whether the plaintiff, l\/lichael Luster, was guilty of fault greater than 50% so as
to bar any recovery in this cause by the plaintiff as a matter of law under Tennessee's
Doctrine ofl\/Iodified Comparative Fault?

3. All issues of law implicit in the pending Motion for Summary .ludgment and any
and all submitted Motions in Limine, as well as the plaintiffs motion to strike expert
testimony offered in support of the defendant's motion for summaryjudgment.

4. Whether or not a violation of the aforementioned Regulations constitutes
negligence per se.

EXHIBITS

A. Plaintiffs' Exhibits

l. Diagram of swimming pool and surrounding pool area.

2. Photographs of depth markers on deck prior to alterations

3. Photographs of pool and surrounding area

4. Photos of signage at pool.

5. l\/ledical Records and bills from l\/lichael Luster's health care and rehabilitation
providers

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6. Videotape of Plaintiff l\/lichael Luster pre-accident.

7. Photos of Plaintiff Michael Luster pre-accident.

8. Videotape (“A Day in a Life”) ofPlaintiff l\/lichael Luster post-accident.

9. Any document, diagram, chart, graph, scale, report or photograph contained in

Plaintiffs expert, Tom Ebro’s file, which has been previously inspected by Defense
counsel, including but not limited to his report reflecting his opinion regarding the
accident and all exhibits attached to his deposition.

10. Any document, diagram, chart, graph, scale, report or photograph contained in
Rober't Vance’s file, which has been previously inspected by Defense counsel, including
but not limited to his report reflecting his opinion regarding the economic damages
incurred by Plaintiff and all exhibits attached to his depositionl

ll. Any document, diagram, chart, graph, scale, report or photograph contained in
Randall McDaniel’s file, which has been previously inspected by Defense counsel,
including but not limited to his report reflecting his opinion regarding the life care plan of
Plaintiff and all exhibits attached to his deposition

12. Plaintiff Michael Luster’s lncome Tax information for the years preceding his
accident.

13. Tennessee Rules and Regulations, 1200-23-5-.01, .02, and .03.

14. Spring Gate Rehab records and bills.

15. Any item listed by Defendants in Defendants’ Exhibits.

B. Defendant’s Exhibits

l. Diagram(s) of the swimming pool and surrounding pool area.

2. Photographs depicting the subject swimming pool, surrounding deck areas and

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other areas adjacent to the pool.
3. Photographs of the signage at the pool on the date of the accident.
4. An exemplar ofthe "No Diving" sign affixed to the wall adjacent to the pool on

the date of the accident.
5. Photographs of the depth markers on the deck and/or side walls of the pool
depicting these markings as ofthe date ofthe accident.
6. All exhibits contained in the tile and/or attached as Exhibits to the deposition of
the defendants expert, Dr. Tom Griffiths, specifically including his report.
7. l\/ledical records of Plaintiff from the Regional l\/ledical Cenler at l\/lemphis (The
l\/led) which specifically includes the Laboratory report dated April 28, 2002, titled
Serum & Urine Toxicology, reporting the plaintiffs blood alcohol content following
admission to 'l`he l\/led.
8. Ufficial record of the time of sun set and twilight as recorded for April 28._ 2002.
9. Affidavit and/or report of Dr. David Stafford.

VIII. WITNESSES
A. Plaintiff's Witnesses

Will Call

l\/lichael Luster

Nelson Luster

Courtney Bowen

Monkell Bowen

Ricky (Richard) Terry

Robert Vance

Randall McDaniel

Tom Ebro

Rob Sawyer (photos and video)

Spring Gate Rehabilitation Representative(s)- l\/lary .lackson
Dr. Ed Hines - l\/Iichael’s current doctor
Steve Fitzgerald - Former supervisor at Bryce
Any witness on Defendant’s list of witnesses

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May Call
14. Leslie Perkins
15. Jeff Braswell
16. Other Defendant or Mid-America Employees
17. Case manager at Spring Gate Rehab
18. Spring Gate - Kenneth .lones - CNA
19. Spring Gate - Gloria Spencer - CNA
20. Spring Gate w Valerie Pitts f CNA
21 . Spring Gate f Lisa Nelson f CNA
22. Spring Gate d Ella Griffin f CNA
23. Spring Gate - Jackie Somerville _ wound care nurse - no longer there
24. Spring Gate - Theresa lsaac - wound care nurse
25. Spring Gate- Donronda Hall - activity director
26. Spring Gate - Bobbi Williams - nurse - administers medicine
27. Spring Gate - Nurse Johnnie ~ nurse - administers medicine
28. l’sychologist
29. Physical therapist/occupational therapist
30. Dr. Robert Greene (Healthsouth - therapy)
31. nr. Michaei Muhibauer (2"d surgery)
32. Dr. Steven Seiler (The Med w initial hospitalization)
33. Dr. Clyde Smith (former doctor)
34. Dr. Ed Hines (current doctor)
35. Dr. Hammond (doctor before Smith)
36. Dr. William Faulkner (prior to accident)
37. Dr. Chin (former doctor)
38. Shelby County Health inspector (Callisto)
39. The custodians of the records of Michael Luster's health care and
rehabilitation providers
B. Defendant‘s Witnesses
Will Call
1. DeWayne Hall (in person or by deposition)
May Call
l. Richard Terry
2. Leslie Perkins
3. Dana Jones
4. Karen Hoehn
5. Dr. Tom Griffiths
7. 'l`ravis D. Housley (frre department paramedic)
8. Lt. Wardie Parks (fire department paramedic)
9. Sherri Flax, M.D. (Director of Laboratory at The Med)
10. Curtistine Calliste (Health Department inspector)
1 1. Any and all witnesses identified by the plaintiff on his "Will Call“ and/or

"May Calln list

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12. Any witnesses necessary for rebuttal of proofoffered by Plaintiffs
witnesses

13. Dr. David Stafford

14. The custodians of the records of l\/lichael Luster's health care and

rehabilitation providers
15. Elnora Williams
16. Aqua Malone
17. Deborah Lane

ln the event any additional witnesses or exhibits are to be offered, the party intending to

offer the witnesses or exhibits shall notify opposing counsel as soon as possible prior to trial. ln

the case of additional witnesses, the notification shall include their names and addresses and the

general subject matter of their testimony. ln the case of additional exhibits, a description of the

contents shall be provided Any party seeking to add additional witnesses or exhibits must show

good cause for the omission of the witnesses or exhibits from this order.

The above notification requirements shall not apply to rebuttal witnesses and exhibits

which could not reasonably have been anticipated prior to trial.

C.

Deposition Testimony

1. Plaintiff s Offer; At this time, Plaintiff does not intend to offer any
deposition testimony; however, should the need arise, Plaintiff reserves the right
to offer deposition testimony.

2. Defendants’ Offer: At this time, defendants do not intend to offer any
deposition testimony; however, should the need arise, (i.e., due to unavailability
of a witness), these defendants reserve the right to offer deposition testimony.
Estimated Length of Trial

The parties estimate that trial will last five (5) days

Jury or Non-Jury

The parties have demanded ajury.

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F. Amount of Ascertainable Damages
At the time of the accident, Michael Luster was thirty-one years old. He currently
resides at Spring Gate Rehabilitation facility, - a nursing home. Robert Vance, an economist,
and Randy l\/chaniel, a life care plan expert, have been hired on this matter and have provided
reports Based on their figures the reasonable estimate of Michael Luster’s damages are
$6,191,878.00, - 3716,280.00 pretrial and $5,475,598.00 post trial or future amount l-lis medical
expenses to date are in excess of 5550,000.00. The Defendants dispute the nature_. extent and
amounts of these claimed damages
G. Attorneys lnterested in Case
a. l*`or Plaintiffs- Jock 1\/1. Smith, Brian Strength, Danese K. Banks of
The Cochran Firm.

b. For Defendants - Robert Flynn, leffrey Glatstein of Spicer, Flynn &
Rudstrom

H. Special Equipment
Neither the Plaintiff nor the Defendants anticipate the need for any special equipment and
will make use of the ELMO system_ Plaintiffs counsel shall confirm prior to trial that Plaintiff

Luster`s wheelchair can be accommodated in the courtroom.

rr rs so oRDERED this the l 334 day er May, 2005.

UNITED STATES DlSTRlCT COURT JUDGE
SAMUEL HARDY MAYS

 

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APPROVED FOR ENTRY:

'l`HE COCHRAN FlRl\/l - MEMPHIS

By:

 

.lock Smith

Brian Strength

Danese K. Banks

Attorneys for Plaintiffs

One Commerce Sq., 26ch Floor
Memphis, TN 38103

(901) 523-1222

SPICER, FLYNN, & RUDSTROM` P.L.L.C.

By'.

 

Robert Flynn

Jeffrey Glatstein

Attorneys for Defendant

80 Monroe Avenue, Suite 500
l\/lemphis Tennessee 38103
(901) 523-1333

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Notice of Distribution

This notice confirms a copy of the document docketed as number 59 in
case 2:03-CV-02244 was distributed by fax, mail, or direct printing on
May 17, 2005 to the parties listed.

 

 

.leffery S. Glatstein

SPICER FLYNN & RUDSTROM
80 Monroe Ave.

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Honorable Samuel Mays
US DISTRICT COURT

